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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:                                )      CHAPTER 7
                                       )
 CASSANDRA JOHNSON LANDRY              )      CASE NO. 18-55697-LRC
                                       )
      Debtor.                          )
 ---------------------------           )
                                       )
 CASSANDRA JOHNSON LANDRY,             )
                                       )
          Movant,                      )
                                       )   -------------------------------
 vs.                                   )
                                       )      CONTESTED MATTER
 RESURGENT CAPITAL SERVICES,           )
 LP AS SERVICER FOR CACH,              )
 LLC,                                  )
                                       )
          Respondents.                 )
                                       )
                                       )
                                       )
                                       )

 RESPONSE OF RESURGENT CAPITAL SERVICES, LP AS SERVICER FOR CACH,
LLC TO DEBTOR'S OBJECTION (Doc 373) TO PROOF OF CLAIM NO. 14 AND
                        REQUEST FOR HEARING


       COMES NOW RESURGENT CAPITAL SERVICES, LP AS SERVICER FOR CACH,

LLC, (hereinafter referred to as "CACH, LLC") and files this

Response to the Debtor's Objection to Proof of Claim Number 14,

showing this Honorable Court as follows:



                                  FIRST DEFENSE

       The objection of the Debtor to Proof of Claim #14 must be
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denied for the reasons set for the Order of the Court entered in

this case on 02/03/2021 (Doc 337). See also In re Trusted Net Media

Holdings, LLC 334 BR 470 ( USBC ND GA Mullins, J).



                                 SECOND DEFENSE

      CACH, LLC shows that the basis for the Proof of Claim #14 is

the Debtor’s personal guaranty of a business operated by the

debtor. The supporting documents and payment history have been

attached the proof of claim as amended.



                               THIRD DEFENSE

   In response to the allegations of the Debtors’ Objection, CACH,

LLC admits only that CACH, LLC filed proof of claim #14 as amended.

The rest and remaining allegations of the Debtor’s objection are

denied.



                                 GENERAL DENIAL

      Any allegations in the Debtor’s Objection not specifically

addressed in this response are denied.



     WHEREFORE CACH, LLC prays that

  i. The court schedule a hearing on the Objection.

 ii. The court deny the objection and allow the claim of CACH, LLC

as filed.
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 iii. The court grant such other and further relief as is just and

proper.

      This 14th day of June, 2021.



                                            Respectfully submitted,

                                            LEVINE & BLOCK, LLC


                                      BY:   /s/ Ronald A. Levine
                                            Ronald A. Levine,Esq.
                                            [GA Bar No. 448736]
                                            ATTORNEYS FOR CACH, LLC

P.O. Box 422148
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                                            BANKRUPTCY NO.18-55697-LRC
                                            CHAPTER 13
                                            JUDGE LISA RITCHEY CRAIG

                          CERTIFICATE OF SERVICE


   I, Ronald A. Levine, Esq. of Levine & Block, LLC., P.O. Box

422148, Atlanta, Georgia 30342 certify:

   That I am, and at all times hereinafter mentioned, was more than

18 years of age:

   That on the 14th day of June, 2021, I served a copy of the within

and foregoing RESPONSE TO DEBTOR'S OBJECTION TO PROOF OF CLAIM #14

AND REQUST FOR HEARING filed in this bankruptcy matter on:

                         CASSANDRA JOHNSON LANDRY

the respondent(s) in this bankruptcy matter by regular first class

mail addressed to the said respondent(s) at:

Cassandra Johnson Landry
P.O. Box 1275
Grayson, Georgia 30017


And the following parties were served electronically via the
court’s ECF Noticing System:


upon Trustee-in-Bankruptcy:

S. Gregory Hays, Esq.
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed on 06/14/2021                      By:   /s/ Ronald A. Levine
             (Date)                               Ronald A. Levine, Esq.
                                                  (Ga. Bar No. 448736)
